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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


  UNITED STATES OF AMERICA                             )
                                                       )
  v.                                                   )       Case No.: 3:11-00012-14
                                                       )       Senior Judge Wiseman
  DEMETRIUS DUNCAN                                     )


                                       MOTION TO RENEW

         COMES NOW Defendant Demetrius Duncan, by and through his undersigned counsel,

  and pursuant to this Court’s Order (Docket Entry 1065) and Rules 8(a), 8(b), 12(b)(3) and 14 of

  the Federal Rules of Criminal Procedure, hereby renews his previously filed Motion to Sever and

  Memorandum of Law (Docket Entries 859 & 961).                 As further support for severance,

  Defendant Duncan hereby incorporates and asserts the aversions within his Motion to Continue

  Trial (Docket Entry 1145) as if fully set forth verbatim herein.

         WHEREFORE, Defendant Duncan respectfully requests that this Honorable Court grant

  this Motion.



                                                       Respectfully submitted,



                                                       s/ Benjamin H. Perry
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                                                       Nashville, TN 37203
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                                                   1


  Case 3:11-cr-00012        Document 1186         Filed 08/30/12     Page 1 of 1 PageID #: 5975
